                 UNITED STATES DISTRICT COURT
                  MIDDLE DISTRICT OF FLORIDA
                        OCALA DIVISION

UNITED STATES OF AMERICA

v.
                                              Case No. 5:20-cr-40-Oc-28PRL

CHRISTINA LYNN CATALANO
____________________________________/

                 DEFENDANTS’ UNOPPOSED MOTION
                   TO AMEND BOND CONDITIONS

      Christina Lynn Catalano, through counsel, moves for an amendment of

her conditions of bond, based on the following considerations:

      1.     On October 8, 2020, following a hearing to determine whether bond

should be revoked, the Court entered an order setting more restrictive conditions

of bond. The order states: “The defendant is restricted to her residence at all

times except for employment, education, religious services, medical, substance

abuse or mental health treatment, attorney visits, court appearances, court-

ordered obligations, or other activities as approved in advance by the pretrial

services office or supervising officer.” Doc. 40.

      2.     It is Ms. Catalano’s request that the Court amend her bond

conditions to allow her to go to the grocery story two times per week for a
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reasonable period of time and to go outside, into her backyard, for two hours per

day.

       3.    Prior to filing this motion Ms. Catalano’s counsel discussed this

request with her Pretrial Services Officer, Nathan Dodson. Mr. Dodson indicated

that because of the order entered on October 8, 2020, adjudication of Ms.

Catalano’s request should come through the Court. Mr. Dodson indicated that

Ms. Catalano has submitted two negative drug tests since the order was entered

and she has been in substantial compliance with her bond conditions.

       4.    Assistant U.S. Attorney Michael Felicetta is unopposed to this

motion.

       5.    In the event the Court determines a hearing is necessary to decide

this motion, it is requested that it be scheduled no earlier than the week of

November 16, 2020, as Ms. Catalano’s counsel will be out of the office the week

of November 9, 2020.

                                       Respectfully submitted,

                                       James T. Skuthan
                                       Acting Federal Defender


                                       s/ Mark Rosenblum
                                       Mark Rosenblum
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                       CERTIFICATE OF SERVICE

      I certify that on November 6, 2020, I electronically filed the foregoing

with the Clerk of Court by using the CM/ECF system, which will send notice

of electronic filing to all counsel of record.


                                            s/ Mark Rosenblum
                                            Assistant Federal Defender




                                        3
